Case 1:23-cv-00521-PAB-MEH Document 1 Filed 02/27/23 USDC Colorado Page 1 of 10




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

     Civil Action No. 23-cv-

     ZAKERY ANTHENY KLOPCIC

            Plaintiff,

     v.

     CONWAY DREAMS, LLC

           Defendant.
     ________________________________________________________________________

                                   COMPLAINT
     ________________________________________________________________________


            Plaintiff Zakery Antheny Klopcic (“Plaintiff” or “Mr. Klopcic”), by and through

     his attorney, as and for his complaint against Defendant Conway Dreams, LLC

     (“Defendant”), alleges as follows:

                                              I. CLAIM

            1.      Mr. Klopcic, a person with a physical disability and mobility impairments,

     brings this action for declaratory and injunctive relief, attorney’s fees, costs, and

     litigation expenses against Defendant for violations of Title III of the Americans with

     Disabilities Act, 42 U.S.C. §§12181, et seq. (“ADA”), and its attendant regulations, the

     Americans with Disabilities Act Accessibility Guidelines (“ADAAG”).

             2.     Defendant refused to provide Mr. Klopcic and others similarly situated

     with sufficient ADA-compliant parking in the parking lot that serves Vantage Salon. At

     the Wheat Ridge location, there is no ADA-compliant van-accessible space on the

     shortest access route to the main entrance. There is no disabled parking.

             Based on these facts, Defendant has denied Mr. Klopcic the ability to enjoy the


                                                                                                1
Case 1:23-cv-00521-PAB-MEH Document 1 Filed 02/27/23 USDC Colorado Page 2 of 10




     goods, services, facilities, privileges, advantages, and accommodations at Vantage Salon.


                                 II. JURISDICTION AND VENUE

            3.      This Court has subject matter jurisdiction over this action pursuant to 28

     U.S.C. §1331 and §1343(a)(3) & (a)(4) for violations of the Americans with Disabilities

     Act of 1990, 42 U.S.C. §12101, et seq.

            4.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b), as the

     events complained of occurred in Wheat Ridge, Colorado, where the Vantage Salon

     business is located.


                                            III. PARTIES

            5.      Plaintiff Zakery Antheny Klopcic is a resident of Golden, Colorado. Mr.

     Klopcic has a disability, as established by the Federal government. Mr. Klopcic has a

     disabled placard on his vehicle and a disability identifier on his driver’s license, as issued

     by the State of Colorado. Mr. Klopcic has significant mobility impairments and uses

     assistive devices for mobility. He is a “qualified individual with a disability” within the

     meaning of ADA Title III.

            6.      Defendant Conway Dreams, LLC owns, manages, controls, and leases the

     improvements and building where the Vantage Salon is situated. The address of Vantage

     Salon is 6390 West 44th Avenue, Wheat Ridge, Colorado 80033. The business is a place

     of public accommodation, operated by a private entity, whose operations affect

     commerce within the meaning of Title III of the ADA.

            7.      Defendant Conway Dreams, LLC is the owner of the property. Defendant

     is a domestic limited liability. Defendant can be served process via service to its




                                                                                                   2
Case 1:23-cv-00521-PAB-MEH Document 1 Filed 02/27/23 USDC Colorado Page 3 of 10




     Registered Agent: Lisa Conway at 10580 W 46th Avenue, Wheat Ridge, Colorado

     80033.


                                 IV. FACTUAL BACKGROUND

              8.    Vantage Salon is a business establishment and place of public

     accommodation in Wheat Ridge, Colorado. Vantage Salon is situated on real estate,

     property, and improvements owned, controlled, managed, and leased out by Conway

     Dreams, LLC.

              9.    Vantage Salon is not accessible to disabled individuals because it has zero

     ADA-compliant van-accessible parking spaces near the main entrance. At the Wheat

     Ridge location, there is no ADA-compliant van-accessible space (96” space with 96” side

     access aisle) on the shortest access route to the main entrance. There is no disabled

     parking.

              10.   Pictures taken at the location prove this:




                                                                                              3
Case 1:23-cv-00521-PAB-MEH Document 1 Filed 02/27/23 USDC Colorado Page 4 of 10




     Vantage Salon business in Wheat Ridge, CO. There is no ADA-compliant van-accessible
     space (96” wide with 96” side access aisle) on the shortest route to the main entrance. No
     disabled parking.




     Vantage Salon business in Wheat Ridge, CO. There is no ADA-compliant van-accessible
     space (96” wide with 96” side access aisle) on the shortest route to the main entrance. No
     disabled parking.


                                                                                              4
Case 1:23-cv-00521-PAB-MEH Document 1 Filed 02/27/23 USDC Colorado Page 5 of 10




     Vantage Salon business in Wheat Ridge, CO. There is no ADA-compliant van-accessible
     space (96” wide with 96” side access aisle) on the shortest route to the main entrance. No
     disabled parking.




     Vantage Salon business in Wheat Ridge, CO. There is no ADA-compliant van-accessible
     space (96” wide with 96” side access aisle) on the shortest route to the main entrance. No
     disabled parking.


                                                                                              5
Case 1:23-cv-00521-PAB-MEH Document 1 Filed 02/27/23 USDC Colorado Page 6 of 10




            11.     The Plaintiff went to Vantage Salon property in October of 2022.

            12.     In encountering and dealing with the lack of an accessible facility, the

     Plaintiff experienced difficulty and discomfort. These violations denied Plaintiff the full

     and equal access to facilities, privileges and accommodations offered by the Defendant.

     Plaintiff is a resident of Golden, Colorado, and intends to return to Vantage Salon. By not

     having an ADA-compliant parking area, the Plaintiff’s life is negatively affected by not

     being able to safely access the location. This causes the Plaintiff depression, discomfort,

     and emotional stress and the Plaintiff is prevented from resuming a normal lifestyle and

     enjoying access to businesses in his area.

            13.     Additionally, on information and belief, the Plaintiff alleges that the

     failure to remove the barrier was intentional because: (1) this particular barrier is intuitive

     and obvious; (2) the Defendant exercised control and dominion over the conditions at this

     location and, therefore, the lack of accessible facilities was not an “accident” because

     Defendant intended this configuration; (3) Defendant has the means and ability to make

     the change; and (4) the changes to bring the property into compliance are “readily

     achievable.”

             14.    The Defendant’s Wheat Ridge location does not have the required number

     of ADA parking spaces. With 1-25 parking spaces, Defendant must have one ADA-

     compliant van-accessible space (96” wide with 96” side access aisle) with a sign. This

     space must be located on the shortest accessible route to the main entrance of the

     business. See pictures above.

            15.     At the Wheat Ridge location, there are no ADA-compliant van-accessible

     spaces on the shortest access route to the main entrance. There is no disabled parking on

     the property whatsoever.


                                                                                                   6
Case 1:23-cv-00521-PAB-MEH Document 1 Filed 02/27/23 USDC Colorado Page 7 of 10




             16.     The Americans with Disabilities Act (ADA), 42 U.S.C. §12101, has been

     federal law for over 30 years. This is a blatant violation of the ADA.


               V. CLAIM FOR RELIEF - VIOLATION OF THE AMERICANS
                   WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12101

             17.     Plaintiff repleads and incorporates by reference, as if fully set forth at

     length herein, the allegations contained in all prior paragraphs of this complaint.

             18.     Under the ADA, it is an act of discrimination to fail to ensure that the

     privileges, advantages, accommodations, facilities, goods and services of any place of

     public accommodation are offered on a full and equal basis by anyone who owns, leases,

     or operates a place of public accommodation. See 42 U.S.C. § 12182(a). Discrimination

     is defined, inter alia, as follows:

                     a.      A failure to make reasonable modifications in policies, practices,

             or procedures, when such modifications are necessary to afford goods, services,

             facilities, privileges, advantages, or accommodations to individuals with

             disabilities, unless the accommodation would work a fundamental alteration of

             those services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).

                     b.      A failure to remove architectural barriers where such removal is

             readily achievable. 42 U.S.C. § 12182(b)(2) (A)(iv). Barriers are defined by

             reference to the ADAAG, found at 28 C.F.R., Part 36, Appendix D.

                     c.      A failure to make alterations in such a manner that, to the

             maximum extent feasible, the altered portions of the facility are readily accessible

             to and usable by individuals with disabilities, including individuals who use

             wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to



                                                                                                  7
Case 1:23-cv-00521-PAB-MEH Document 1 Filed 02/27/23 USDC Colorado Page 8 of 10




            the altered area and the bathrooms, telephones, and drinking fountains serving the

            altered area, are readily accessible to and usable by individuals with disabilities.

            42 U.S.C. § 12183(a)(2).

            19.    Pursuant to 28 C.F.R., Part 36, Appendix D (herein after “1991

     Standards”), section 4.1.2, and 36 C.F.R., Part 1191, Appendix B (herein after “2010

     Standards”), section 208.2, if a business provides between 1 and 25 parking spaces,

     Defendant must have at least one ADA-compliant van-accessible space (96” wide with

     96” side access aisle) near the business entrance.

            20.     Here, the Defendant did not provide a sufficient number of ADA-

     compliant parking spaces in its parking lot, although doing so is easily and readily done,

     and therefore violated the ADA. At the Wheat Ridge location, there are no ADA-

     compliant van-accessible spaces on the shortest access route to the main entrance. There

     is no disabled parking on the property whatsoever.


                                       VI. RELIEF REQUESTED

     Injunctive Relief

            21.     Mr. Klopcic will continue to experience unlawful discrimination as a

     result of Defendant’s refusal to comply with the ADA. Injunctive relief is necessary so he

     and all individuals with disabilities can access the Defendant’s property equally, as

     required by law, and to compel Defendant to repave and restripe the parking lot to

     comply with the ADA. Injunctive relief is also necessary to compel Defendant to keep

     the property in compliance with federal law.




                                                                                                   8
Case 1:23-cv-00521-PAB-MEH Document 1 Filed 02/27/23 USDC Colorado Page 9 of 10




     Declaratory Relief

               22.   Mr. Klopcic is entitled to declaratory judgment concerning Defendant’s

     violations of law, specifying the rights of individuals with disabilities to access the goods

     and services at the Defendant’s location.

               23.   The facts are undisputed and Defendant’s non-compliance with the ADA

     has been proven through on-site photographs. Plaintiff proves a prima facie case of ADA

     violations by the Defendant.



     Attorney’s Fees and Costs

               24.   Plaintiff is entitled to reasonable attorney’s fees, litigation costs, and court

     costs, pursuant to 42 U.S.C. §12205.



                                    VII. PRAYER FOR RELIEF

               THEREFORE, Mr. Klopcic respectfully requests this Court award the following

     relief:

               A.    A permanent injunction, compelling Defendant to comply with the

     Americans with Disabilities Act; and enjoining Defendant from violating the ADA and

     from discriminating against Mr. Klopcic and those similarly situated, in violation of the

     law;

               B.    A declaratory judgment that Defendant’s actions are a violation of the

     ADA;

               C.    Find that Mr. Klopcic is the prevailing party in this action, and order

     Defendant liable for Plaintiff’s attorney’s fees, costs, and litigation expenses; and,

               D.    Grant such other and additional relief to which Plaintiff may be entitled in


                                                                                                    9
Case 1:23-cv-00521-PAB-MEH Document 1 Filed 02/27/23 USDC Colorado Page 10 of 10




      this action.



          DATED: February 27, 2023         Respectfully,

                                     By:   /s/ R. Bruce Tharpe
                                           R. Bruce Tharpe

                                           LAW OFFICE OF
                                           R. BRUCE THARPE, PLLC
                                           PO Box 101
                                           Olmito, TX 78575
                                           Telephone: (956) 255-5111
                                           E-mail: rbtharpe@aol.com
                                           Questions@BruceTharpeLaw.com
                                           Admitted in Colorado

                                           ATTORNEY OF RECORD FOR
                                           PLAINTIFF ZAKERY ANTHENY
                                           KLOPCIC




                                                                          10
